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                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF VIRGINIA
                       HARRISONBURG DIVISION


UNITED STATES OF AMERICA                 )
                                         )        Case No. 5:93CR30025
                                         )
                                         )        OPINION AND ORDER
v.                                       )
                                         )       By: James P. Jones
MARK ANTHONY DAVIS,                      )       Chief United States District Judge
                                         )
             Defendant.                  )

      C. Patrick Hogeboom, III, Assistant United States Attorney, Roanoke, Virginia,
for United States; Mark Anthony Davis, Pro Se Defendant.

      By Order of March 20, 2008, the defendant was granted a reduction in sentence

pursuant to 18 U.S.C.A. § 3582(c)(2) (West 2000). His sentence, imposed in 1994

following his conviction for conspiracy to possess with intent to distribute crack

cocaine, was reduced from 300 months imprisonment to 241 months.

      The defendant has now filed a Motion for Clarification of Sentencing, seeking

to have the court order the Bureau of Prisons to credit him with time served in a state

facility while charges were pending in this case.

      By statute, the Bureau of Prisons calculates a prisoner’s release date, including

good time and prior custody credits toward the sentence. See 18 U.S.C.A. § 3585

(West 2000). Any judicial review of the computation of credit against a sentence

must be made, not by the sentencing court, but by habeas petition in the district where
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the inmate is confined. United States v. Miller, 871 F.2d 488, 489-90 (4th Cir. 1989).

The defendant is not confined in this district, therefore judicial review of the

calculation of his sentence is not available in this court.           It is the court's

understanding that the defendant is presently incarcerated at Federal Correctional

Institute Coleman Low, which is located in the Middle District of Florida. If the

defendant believes that his sentence has been calculated improperly, his remedy is a

habeas petition to that court.

      For these reasons, it is ORDERED that the Motion for Clarification of Sentence

(Doc. # 192) is DENIED.



                                               Enter: June 23, 2008

                                                /S/ JAMES P. JONES
                                               Chief United States District Judge




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